          Case 4:11-cv-04516-YGR Document 38 Filed 09/11/12 Page 1 of 2



 1   HARVEY SISKIND LLP
     Ian K. Boyd (SBN 191434)
 2   Email: iboyd@harveysiskind.com
     Matthew A. Stratton (SBN 254080)
 3
     Email: mstratton@harveysiskind.com
 4   Four Embarcadero Center, 39th Floor
     San Francisco, California 94111
 5   Telephone: (415) 354-0100
     Facsimile: (415) 391-7124
 6
     THE LAW OFFICE OF ZICK RUBIN                  DAVIS WRIGHT TREMAINE LLP
 7
     Zick Rubin (pro hac vice)                     Duffy Carolan (SBN 154988)
 8   Email: zrubin@zickrubin.com                   Email: duffycarolan@dwt.com
     288 Walnut Street, Suite 230                  505 Montgomery Street, Suite 800
 9   Newton, MA 02460                              San Francisco, CA 94111
     Telephone: (617) 965-9425                     Telephone: 415-276-6500
10   Facsimile: (617) 965-9426                     Facsimile: 415-276-6599
11
     Attorneys for Plaintiffs                      Attorneys for Defendant
12   THOMAS D. FAHEY,                              THE McGRAW-HILL COMPANIES, INC.
     PAUL M. INSEL,
13   AND WALTON T. ROTH
14

15                          IN THE UNITED STATES DISTRICT COURT
16                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
17                                         OAKLAND DIVISION
18
19   THOMAS D. FAHEY, an individual; PAUL          CASE NO. C 11-04516 YGR
     M. INSEL, an individual; and WALTON T.
20                                                STIPULATION RE DISMISSAL OF
     ROTH, an individual;
21                                                COMPLAINT WITH PREJUDICE
                                                                    ISTRIC
                         Plaintiffs,
                                                               TES D      TC
22   v.                                                      TA
                                                                                            O
                                                        S




                                                                                             U
                                                       ED




23
                                                                                              RT




     McGRAW-HILL COMPANIES, INC., a
                                                                                        D
                                                                           RDERE
                                                   UNIT




     Delaware corporation;
                                                                     OO
                                                              IT IS S
24
                                                                                                     R NIA




25                       Defendant.
                                                                                               ers
                                                                               n   zalez Rog
                                                   NO




26                                                                     onne Go
                                                              Judge Yv
                                                                                                     FO
                                                     RT




27
                                                                                                 LI




                                                            E R September 11, 2012 C
                                                       H




                                                                                               A




28                                                             N
                                                                  D I S T CASE   OF
     STIPULATION RE DISMISSAL OF COMPLAINT                               R I C TNO. C 11-04516 YGR
     WITH PREJUDICE
             Case 4:11-cv-04516-YGR Document 38 Filed 09/11/12 Page 2 of 2



 1           Pursuant to the settlement agreement entered into between the parties hereto, it is hereby

 2   stipulated by and among the parties to this action that this matter is dismissed with prejudice pursuant to

 3   Rule 41(a)(1) of the Federal Rules of Civil Procedure. Each party shall bear its own costs and attorneys’

 4   fees.

 5

 6   Dated: September 10, 2012                                Respectfully submitted,
 7
                                                              HARVEY SISKIND LLP
 8                                                            IAN K. BOYD

 9                                                            THE LAW OFFICE OF ZICK RUBIN
                                                              ZICK RUBIN
10
                                                              By:          /s/
11
                                                                      Ian K. Boyd
12
                                                              Attorneys for Plaintiffs
13                                                            THOMAS D. FAHEY, PAUL M. INSEL,
                                                              AND WALTON T. ROTH
14

15
                                                              DAVIS WRIGHT TREMAINE LLP
16                                                            DUFFY CAROLAN

17                                                            By:         /s/
                                                                     Duffy Carolan
18
19                                                            Attorneys for Defendant
                                                              THE McGRAW-HILL COMPANIES, INC.
20

21
             I, Ian K. Boyd, am the ECF User whose identification and password are being used to file this
22   document. Pursuant to General Order 45.X.B, I hereby attest that counsel for defendant                 has
23   concurred in this filing.

24                                                      By:             /s/
                                                                     Ian K. Boyd
25

26
27

28                                                      -1-
     STIPULATION RE DISMISSAL OF COMPLAINT                                           CASE NO. C 11-04516 YGR
     WITH PREJUDICE
